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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

        Civil Action No. 1:22-cv-00581-PAB

        Colorado Montana Wyoming
        State Area Conference of the NAACP,
        League of Women Voters of Colorado, and
        Mi Familia Vota,

               Plaintiffs,

        v.

        United States Election Integrity Plan, Shawn Smith,
        Ashley Epp, and Holly Kasun,

               Defendants.



                             MOTION TO DISMISS (ECF NO. 48)



        Plaintiffs Colorado Montana Wyoming State Area Conference of the NAACP, League of

Women Voters of Colorado, and Mi Familia Vota (“Plaintiffs”) respectfully move the Court for

an order dismissing the Counterclaims for Defamation and Abuse of Process pursuant to Federal

Rule of Civil Procedure 12(b)(6). The defamation claim should be dismissed because it is based

solely on allegations by Plaintiffs’ counsel in their Complaint or in reference to those allegations,

which are absolutely privileged and cannot as a matter of law support a defamation claim. The

abuse of process claim should be dismissed because it fails to allege any facts to support an

inference that Plaintiffs brought this action for any improper or ulterior motive or purpose. To the

contrary, Defendants’ counterclaim relies explicitly and exclusively on alleged harm resulting

from the proper and intended purpose of the lawsuit—obtaining a court order declaring their voter

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intimidation unlawful and enjoining it—and, as such, fails as a matter of law to state an abuse of

process claim. In support of their Motion to Dismiss, Plaintiffs state as follows:

                                            INTRODUCTION

        Plaintiffs brought this action under the Voting Rights Act and the Ku Klux Klan Act based

primarily on Defendants’ own public statements, which demonstrate that they have engaged in a

coordinated scheme of illegal voter intimidation in violation of federal law. USEIP’s incendiary

“County & Local Organizing Playbook,” (the “Playbook”) which sets forth USEIP’s principles

and goals, exclaims: “This is the fight . . . No one is coming to save us. It’s time to stand up . . .

we are not at a time of peace. And everyone who values freedom and is committed to the fight

for our Republic is now needed.”1 Defendants and USEIP members Shawn Smith, Ashley Epp,

and Holly Kasum2 have appeared and spoken at countless public events and been quoted in various

articles touting USEIP’s principles and goals and promoting the “Big Lie.” And, in case there is

any doubt that the individual Defendants have engaged in threatening and intimidating behavior,

Defendant Shawn Smith was recently captured on video making explicit violent threats against

Colorado Secretary of State Jena Griswold, as well as anyone else they accuse of election fraud:

“I think if you are involved in election fraud then you deserve to hang. Sometimes the old ways

are the best ways.”3 Members of USEIP have publicly discussed their door-to-door intimidation


1
         County         &       Local       Organizing       Playbook        (Aug.        2021),
https://useipdotus.files.wordpress.com/2021/08/useip_playbook_aug2021.pdf.
2
  In their Answer, Defendants Ashley Epp, Holly Kasum, and Shawn Smith admit to being
members of USEIP. (Answer (ECF No. 48) ¶¶ 17-19.)
3
  Defendant Ashley Epp was interviewed for and quoted in Erik Maulbetsch, Colorado Republican
Legislators Join Election Fraud Conspiracy Panel, COLORADO TIMES RECORDER (Mar. 9, 2021),
https://coloradotimesrecorder.com/2021/03/colorado-republican-legislators-join-election-fraud-
conspiracy-panel/34839/. The video of Defendant Shawn Smith threatening Secretary of State Jena
Griswold can be found here: https://twitter.com/jenagriswold/status/1491991594018304001.
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campaign on social media and in their County Playbook.4 And complaints about this campaign

were made to the Colorado Secretary of State, which issued a press release in response to reports

of defendants’ campaign, reminded voters of their rights to a confidential ballot, and advised voters

about what to do if they experience intimidation or harassment.5

        Defendants’ counterclaims amount to asking the Court, “Who are you going to believe,

me, or your own eyes?” Defendants bring counterclaims for defamation and abuse of process,

claiming that Plaintiffs have made “unsubstantiated” and “frivolous” allegations about Defendants

through their filings with the Court and in statements about the litigation. (Counterclaim (ECF.

No. 48) ¶¶ 12-14; 17; 20; 26.) Defendants further contend that the statements were made for the

“ulterior purpose” of “harassing, embarrassing, and keeping Counterclaim Plaintiffs from

engaging in their constitutional rights.” (Counterclaim ¶ 20; 31.) Under well-established law, an

attorney’s statements, even if defamatory, when made in the course of or in preparation for a legal

proceeding, cannot be the basis of a tort claim so long as the statements are related to the litigation.

Likewise, an abuse of process claim requires an ulterior motive unrelated to the goal of the

litigation; even a claim that results in harassment or intimidation is not abuse of process.

Accordingly, the Court should dismiss the counterclaims, with prejudice.


4
  See, e.g., Erik Maulbetsch, Colorado Election Fraud Group is Training Conspiracists in Other
States to Knock Doors in Search of ‘Phantom Ballots’, COLORADO TIMES RECORDER (Oct. 1, 2021),
https://coloradotimesrecorder.com/2021/10/colorado-election-fraud-group-is-training-
conspiracists-in-other-states-to-knock-doors-in-search-of-phantom-ballots/39935/        (article
includes screenshots of social media posts by USEIP members about efforts to coordinate their
door-to-door campaign); County & Local Organizing Playbook pp. 19-22 (Aug. 2021),
https://useipdotus.files.wordpress.com/2021/08/useip_playbook_aug2021.pdf.
5
  Colorado Secretary of State Jena Griswold, News Release, In Response to Reported Unofficial
Door-to-Door Canvassing of Colorado Voters, the Colorado Secretary of State’s Office Reminds
Voters       of    Their     Constitutionally    Protected    Rights     (Sept.   9,     2021),
https://www.sos.state.co.us/pubs/newsRoom/pressReleases/2021/PR20210909Canvassing.html.
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                                          LEGAL STANDARD

        A motion pursuant to Federal Rule of Civil Procedure 12(b)(6) tests “the sufficiency of the

allegations within the four corners of the complaint after taking those allegations to be true.”

Mobley v. McCormick, 40 F.3d 337, 340 (10th Cir. 1994). “The court’s function on a Rule 12(b)(6)

motion is not to weigh potential evidence that the parties might present at trial, but to assess

whether the plaintiff’s complaint alone is legally sufficient to state a claim for which relief may be

granted.” Sutton v. Utah State Sch. For the Deaf & Blind, 173 F.3d 1226, 1236 (10th Cir. 1999).

“To survive a motion to dismiss under Rule 12(b)96) of the Federal Rules of Civil Procedure, a

complaint must allege enough factual matter that, taken as true, makes the plaintiff’s ‘claim to

relief . . . plausible on its face.’” In re Frontier Airlines Litigation, 559 F.Supp.3d 1146, 1153 (D.

Colo. 2021) (quoting Khalik v. United Air Lines, 671 F.3d 1188, 1190 (10th Cir. 2012) (citing Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “[W]here the well-pleaded facts do not permit

the court to infer more than the mere possibility of misconduct, the complaint has alleged – but it

has not shown – that the pleader is entitled to relief.” In re Frontier Airlines Litigation, 559

F.Supp.3d at 1153 (citing Ascroft v. Iqbal, 556 U.S. 662, 679 (2009)). “Thus, even though modern

rules of pleading are somewhat forgiving, a complaint must still contain either direct or inferential

allegations respecting all the material elements necessary to sustain recovery under some viable

legal theory.” In re Frontier Airlines Litigation, 559 F.Supp.3d at 1153 (citations omitted).

“Allegations that are purely conclusory are not sufficient to state a claim for relief.” GN Netsome,

Inc. v. Callpod, Inc., 2012 WL 4086530, at *2 (D. Colo. Sept. 17, 2012) (quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. at 555).




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                                                 ARGUMENT

       I.          DEFENDANTS CANNOT ASSERT A DEFAMATION CLAIM.

            Defendants’ defamation claim, which is based solely upon the allegations in the Complaint

and/or litigation-related statements by Plaintiffs’ attorneys, fails to state a claim and should be

dismissed with prejudice. “An attorney at law is absolutely privileged to publish defamatory

matter concerning another in communications preliminary to a proposed judicial proceeding, or in

the institution of, or during the course and as part of, a judicial proceeding in which he participates

as counsel.” Club Valencia Homeowners Ass’n, Inc. v. Valencia Associates, 712 P.2d 1024, 1027

(Colo. Ct. App. 1985) (quoting RESTATEMENT (SECOND) OF TORTS § 586 (1977) (emphasis

added)); see also Patterson v. James, 454 P.3d 345, (Colo. Ct. App. 2018) (citations omitted) (“An

attorney’s statements, even if defamatory, when made in the course of or preparation for, judicial

proceedings in a filed case cannot be the basis of a tort claim if the statements are related to the

litigation”). “The purpose of this privilege . . . is to afford litigants the utmost freedom to access

the courts to preserve and defend their rights and to protect attorneys during the course of their

representation of clients.” Id. (citing Smith v. Hatch, 271 Cal.App.2d 39, 76 (Cal. Ct. App. 1969)).

            “To be privileged, the allegedly defamatory matter must have been made in reference to

the subject matter of the proposed or pending litigation, although it need not be strictly relevant to

any issue involved in it.” Id. (citing RESTATEMENT (SECOND) OF TORTS § 586 comment C (1977);

Sussman v. Damian, 355 So.2d 809 (Fla. App. Ct. 1977)). “The pertinency required is not

technical legal relevancy, but rather a general frame of reference and relation to the subject matter

of the litigation.” Id. (citing Smith, 271 Cal.App.2d at 76). “Thus, the privilege embraces anything

that possibly may be relevant.” Id. (citing Feldman v. Bernham, 6 App.Div.2d 498 (N.Y. App. Ct.


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1958)). The absolute privilege is “not limited to statements during trial, but may extend to steps

taken prior to trial such as conferences and other communications preliminary to the proceeding.”

Id. (citing Lerette v. Dean Witter Organization, Inc., 60 Cal.App.3d 573 (Cal. Ct. App. 1976)).

“All doubt should be resolved in favor of its relevancy or pertinency.” Id. (holding that letters sent

to persons having a collateral interest in the litigation are privileged to the extent the statements

made have some collateral relation to the subject matter of the litigation).

        Here, ignoring well-established law, Defendants claim that Plaintiffs have allegedly

defamed them through “false allegations contained in the Complaint” and allegedly “unsupported

claims contained in the Complaint.” (Counterclaim ¶ 14 n. 2.) Defendants also expressly based

their defamation claim on statements made by “Counsel for Counterclaim Defendants.” Id. Each

of the allegedly defamatory statements was either made in the Complaint itself, or was made in

reference and relation to the subject matter of the pending litigation. (See, e.g., Counterclaim id.

(noting that Plaintiffs’ attorneys “published a press release on March 9, 2022, repeating the false

allegations contained in their Complaint) (emphasis added).) As such, the allegedly defamatory

statements are absolutely privileged, and Defendants’ defamation claim fails as matter of law.6

See Club Valencia Homeowners Ass’n, Inc, 712 P.2d at 1027 (CITING RESTATEMENT (SECOND) OF

TORTS § 586 comment C (1977)).

        Defendants’ position is deeply ironic; although they deny Plaintiffs’ accusations of voter

intimidation, Defendants have clearly filed meritless counterclaims in a blatant attempt to


6
  Even if the statements made by Plaintiffs’ counsel in the course of the litigation were not
absolutely privileged (which they are), they are nonetheless protected by the First Amendment.
See BKP, Inc. v. Killmer, Lane & Newman, LLP, 506 P.3d 84 (Colo. Ct. App. 2021) (holding that
attorneys’ statements at a press conference and in a press release were protected by the First
Amendment).
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intimidate nonprofit voting rights organizations. The absolute privilege rule protects against such

behavior by a defendant, as it is designed to “to encourage and protect free access to the courts for

litigants and their attorneys.”7 See Patterson, 454 P.3d at 350.

        Further, although the analysis need not go any further, it is worth noting that, if Defendants’

argument is followed to its logical conclusion, no plaintiff could ever bring a lawsuit unless it was

absolutely certain that it would succeed on each of its claims and had fully developed evidentiary

support for the same. (See Counterclaim ¶ 13 (arguing that a plaintiff must have “independent

knowledge of the veracity” of all claims before filing a complaint).) The absolute privilege rule is

designed to protect against absurd results such as this. See id. (citing Smith, 271 Cal.App.2d at

76). Moreover, Defendants’ position relies on an incorrect statement of the law and would run

afoul of the Federal Rules. Parties presenting pleadings to the court are required to certify only

that, after a reasonable inquiry, the claims, defenses, and other legal contentions are warranted by

existing law and the factual contentions have evidentiary support or will likely have evidentiary

support after a reasonable opportunity for further investigation and discovery. Fed. R. Civ. P. 11.

Plaintiffs easily satisfy this standard.

        Indeed, even if Defendants were correct (which they are not) that Plaintiffs relied

exclusively on reporting by a “third-party journalist” and published articles in The Colorado Times

Reporter, this reliance would meet the requirements of Rule 11. And, contrary to Defendants’

assertion, Plaintiffs have neither failed to corroborate the allegations in the Complaint, nor relied



7
  The Colorado Legislature has also discouraged lawsuits designed to prevent parties from
exercising their rights of petition or free speech in connection with matters of public concern by
adopting a strong anti-SLAPP law. See C.R.S. § 13-20-1101(3)(a) (allowing a defendant to file a
special motion to dismiss SLAPP claims unless the plaintiff establishes “a reasonable likelihood”
of prevailing on the claim.”)

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exclusively on the “claims” of a third-party journalist. Above all else, Plaintiffs have relied on

Defendants’ own statements—statements which have been widely disseminated through the

Playbook, USEIP website, public speaking events, interviews, and their door-to-door voter

intimidation efforts. And, even if Plaintiffs did not have sufficient evidence to prove their claims

at the time of filing the Complaint (which in fact they did), Plaintiffs certainly expect to have

additional evidentiary support after an opportunity for further investigation and discovery. See

Fed. R. Civ. P. 11.

        Because Plaintiffs’ allegedly defamatory statements made in the course of the litigation are

absolutely privileged, Plaintiffs have failed to state a claim. Consequently, the Court should

dismiss Defendants’ defamation claim with prejudice.

     II.       DEFENDANTS FAIL TO STATE A CLAIM FOR ABUSE OF PROCESS.

        Defendants’ counterclaim for abuse of process likewise has no legal merit. To support an

abuse of process claim, Defendants must establish “(1) an ulterior purpose for the use of a judicial

proceeding; (2) willful action in the use of that process which is not proper in the regular course

of the proceedings, i.e., use of a legal proceeding in an improper manner; and (3) resulting

damage.” Stevens v. Mulay, 2021 WL 1153059, at *1 (D. Colo. Mar. 26, 2021) (citing Parks v.

Edward Dale Parrish LLC, 452 P.3d 141, 145 (Colo. App. 2019)). Crucially, however, “not simply

any ulterior motive will satisfy the requirements of abuse of process;” the ulterior motive must be

“one which results in the use of the process in an improper manner.” Id. “[A]n ulterior purpose is

one that the legal proceeding was not designed to accomplish.” Mintz v. Accident & Injury Medical

Specialists, PC, 284 P.3d 62, 66 (Colo. App. 2010) (emphasis added). Therefore, “there is no

liability for abuse of process if the defendant's ulterior purpose was simply incidental to the


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proceeding's proper purpose.” Id. Simply put, the ulterior motive that is being alleged must be one

that seeks a “collateral objective different from what could have been obtained in the lawsuit

itself.” Pinon Sun Condominium Association, Inc. v. Atain Specialty Insurance Co., 2019 WL

140710 at *7 (D. Colo. Jan. 9, 2019).

        Even more important here, “[t]he fact that there is an incidental motive or consequence of

harassment or intimidation to a process that is otherwise invoked for its normal purpose does not

give rise to a cognizable claim for abuse of process.” Tatonka Cap. Corp. v. Connelly, 2016 WL

9344257, at *5 (D. Colo. Dec. 29, 2016); see also Sterenbuch v. Goss, 266 P.3d 428, 439 (Colo.

App. 2011) (allegations that a plaintiff brought suit “to harass, embarrass, damage, burden and

wrongfully obtain monies from defendants” were insufficient to state viable abuse of process

claim). Moreover, “if a party files ‘claims that are colorable on their face, and requests relief

consistent with the claims alleged,’ there is no abuse of process, even if the claims are factually

baseless.” Pinion Sun, 2019 WL 140710, at *5 (quoting Partimer Worldwide Inc. v. Siliconexpert

Techs. Inc., 2010 WL 502718, at *3 (D. Colo. Feb 10, 2010)). Defendants’ abuse of process

counterclaim clearly requires dismissal.

        As an initial matter, Defendants have already had an opportunity to test whether Plaintiffs’

claims are colorable. Before filing its Answer and Counterclaim, Defendants filed a Motion to

Dismiss, which the Court denied.

        In addition, as for requested relief, Plaintiffs ask the Court to:

             a. Declare that Defendants’ door-to-door campaign of voter harassment and
             threats of carrying out such campaigns in the future constitute unlawful voter
             intimidation in violation of Section 11(b) of the Voting Rights Act.




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             b. Declare that Defendants’ door-to-door campaign of voter harassment and
             threats of carrying out such campaigns in the future constitute a conspiracy in
             violation of Section 42 U.S.C. § 1985(3), the Ku Klux Klan Act.

             c. Order Defendants to cease and desist going uninvited to voters’ homes in
             order to question voters or household members about mail-in ballots, alleged
             voter fraud, or to intimidate voters from voting (including by mail).

             d. Order Defendant USEIP to cease and desist coordinating or organizing visits
             to voters’ homes in order to question voters or household members about mail-
             in ballots, alleged voter fraud, or to intimidate voters from voting (including
             voting by mail).

             e. Order Defendants to stop taking photographs and stop maintaining databases
             of voters, their residences, or their vehicles; to make no attempt to access or use
             their copies of existing photographs or databases of voters, their residences, or
             their vehicles; and to delete their copies of existing photographs or databases
             of voters, their residences, or their vehicles and to submit an affidavit to the
             Court attesting to the deletion of the same.

             f. Order Defendants to submit to the Court their original existing photographs
             and databases of voters, their residences, and their vehicles, and order that these
             photographs and databases be restricted to the Court and the parties (Level 1)
             pursuant to D. C., Colo. L. Civ. R. 7.2.

             g. Order Defendants who speak with voters to: (i) clearly state the organization
             with whom they are affiliated; (ii) inform voters that they are not required to
             speak with Defendants; (iii) stop claiming that they affiliated with any
             government entity; (iv) not make any threat of consequences, reprisals, or
             criminal charges to voters; and (v) to otherwise not threaten or intimidate
             voters.

             h. Order Defendants to cease and desist carrying weapons when going to voters’
             homes to speak with voters or household members.

             i. Order Defendants to cease and desist instructing or encouraging anyone to
             carry weapons during USEIP-related interactions with voters.

             j. Order Defendants not to engage in other actions that threaten voters for
             having voted in 2020 or threaten or intimidate voters from voting in future
             elections.

             k. Award Plaintiffs compensatory damages.

             l. Award Plaintiffs reasonable attorneys’ fees and costs.

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             m. Retain jurisdiction to ensure Defendants’ ongoing compliance with the
             foregoing orders.

             n. Grant such other and further relief that this Court deems just and appropriate.

Because all requested relief is “consistent with the claims alleged,” there is no abuse of process,

and the Court should dismiss the abuse of process claim with prejudice.

        In support of their claim, Defendants allege that Plaintiffs filed their Complaint “for the

improper purpose of harassing, embarrassing, and keeping Counterclaim Plaintiffs from engaging

in their constitutional rights.” (Counterclaim ¶ 31.) These allegations are insufficient to support an

abuse of process claim for several reasons. First, as noted above, Colorado courts have made clear

that an allegation that a complaint that incidentally caused harassment, embarrassment, or burden

is not abuse of process. Tatonka Cap. Corp., 2016 WL 9344257, at *5. Accordingly, even if

Plaintiffs’ motivation was what Defendants allege (which it was not), this would still not amount

to abuse of process.

        Second, an abuse of process claim requires more than a conclusory allegation that there

was an ulterior motive. Simply alleging that there was an ulterior motive, without more, does not

clear the Rule 12(b)(6) plausibility bar. See, e.g., Satterfield v. Ennis, 2008 WL 3910995, at *1 (D.

Colo. Aug. 25, 2008) (concluding that an abuse of process claim alleging extortion as an ulterior

motive “consists of only labels and conclusions, and the claim is not ‘plausible on its face’ because

there are no facts alleged to support those labels and conclusions); GN Netsome, Inc. v. Callpod,

Inc., 2012 WL 4086530, at *2 (D. Colo. Sept. 17, 2012) (dismissing an abuse of process claim

because there was no explanation of how the suit was motivated by the plaintiff’s desire to gain

settlement leverage). This defect in Defendants’ counterclaim is particularly glaring with regard

to their allegation that Plaintiffs seek to keep them from “engaging in their constitutional rights.”

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Not only do Defendants fail to identify what “constitutional rights” Defendants believe they are

being kept from engaging in, but – even more fatal to their claim – they fail to explain how this is

an ulterior motive wholly separate from the goal of the lawsuit. Defendants have no constitutional

right to intimidate or attempt to intimidate voters. The fact that Defendants allegedly believe that

their conduct is constitutionally protected conduct, and not unlawful voter intimidation, does not

convert Plaintiffs’ motivation for filing suit – i.e., to prevent Defendants from engaging in that

conduct – into an improper ulterior motive. An abuse of process claim cannot stand when the

alleged ulterior motive is, in fact, the purpose of the lawsuit. See Lauren Corp. v. Century

Geophysical Corp., 953 P.2d 200, 202 (Colo. App. 1998) “[A] claim for abuse of process must

include an allegation of ‘the use of process to accomplish a coercive goal which is not the intended

legal purpose of the process.’” (internal citation omitted).

        Because Defendants have not and cannot allege any facts to suggest that Plaintiffs’ suit is

not colorable, seeks unrelated relief, or was commenced for an improper ulterior motive, the abuse

of process claim cannot survive a Rule 12 challenge and should be dismissed with prejudice.

                                             CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court enter an order

dismissing the Counterclaims pursuant to Federal Rule of Civil Procedure 12(b)(6).



Dated: June 2, 2022                                   LATHROP GPM LLP

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                                     CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2022, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system which will send notification of such filing to the following e-
mail addresses:

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                                                      s/Claudia Neal




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